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                                  No. 23-12155

              IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT


                              August Dekker, et al.,
                               Plaintiffs-Appellees,
                                         v.
         Secretary, Florida Agency For Health Care Administration et al.,
                              Defendants-Appellants.

 Appeal from the United States District Court for the Northern District of Florida,
                                No. 4:23-cv-114


BRIEF OF AMICI CURIAE TRANSSOCIAL, SPEKTRUM HEALTH, INC.,
TRANSGENDER HEALTH EDUCATION NETWORK, SUNSERVE, AND
TRANSINCLUSIVE GROUP IN SUPPORT OF PLAINTIFFS-APPELLEES


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              CERTIFICATE OF INTERESTED PERSONS AND
                CORPORATE DISCLOSURE STATEMENT
      Pursuant to Federal Rule of Appellate Procedure 26.1 and 11th Circuit Rule

26.1-1, undersigned counsel for amici curiae TransSocial, SPEKTRUM Health, Inc.,

Transgender Health Education Network, SunServe, and Transinclusive Group

certifies that, in addition to the list of interested persons provided in the Certificates

of Interested Persons and Corporate Disclosures Statements filed by Appellants,

Appellees, and other amici, the following persons and entities have an interest in the

outcome of this case:

      1.         TransSocial, Amicus

      2.         SPEKTRUM Health, Inc., Amicus

      3.         SunServe, Amicus

      4.         Transgender Health Education Network, Amicus

      5.         Transinclusive Group, Amicus

      6.         Academic Pediatric Association, Amicus

      7.         Alstott, Anne, Amicus

      8.         Altman, Jennifer, Counsel for Plaintiffs

      9.         American Academy of Child and Adolescent Psychiatry, Amicus

      10.        American Academy of Family Physicians, Amicus

      11.        American Academy of Nursing, Amicus

      12.        American Academy of Pediatrics, Amicus


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    13.     American College of Obstetricians and Gynecologists, Amicus

    14.     American College of Osteopathic Pediatricians, Amicus

    15.     American College of Pediatricians, Amicus

    16.     American College of Physicians, Amicus

    17.     American Medical Association, Amicus

    18.     American Pediatric Society, Amicus

    19.     American Psychiatric Association, Amicus

    20.     Anderson, Barrett, Counsel for Amicus

    21.     Antommaria, Armand, Witness

    22.     Association of American Medical Colleges, Amicus

    23.     Bailey, Andrew, Counsel for Amicus

    24.     Baker, Kellan, Witness

    25.     Bardos, Andy, Counsel for Amicus

    26.     Barnes, Brian, Counsel for Amicus

    27.     Beato, Michael, Counsel for Defendants

    28.     Biggs, Michael, Witness

    29.     Biomedical Ethics and Public Health Scholars, Amicus

    30.     Bird, Brenna, Counsel for Amicus

    31.     Boergers, Kathleen, Counsel for Amicus

    32.     Boulware, Susan, Amicus



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    33.     Bowdre, Alexander Barrett, Counsel for Amicus

    34.     Brackett, John Matthew, Witness

    35.     Bronni, Nicholas J., Counsel for Amicus

    36.     Brown, Louis, Jr., Amicus

    37.     Burleigh, Clifton Francis, Jr., Amicus

    38.     Cameron, Daniel, Counsel for Amicus

    39.     Cantor, James, Witness

    40.     Carr, Chris, Counsel for Amicus

    41.     Charles, Carl, Counsel for Plaintiffs

    42.     Chriss, Simone, Counsel for Plaintiffs

    43.     Chuang, Ming, Counsel for Amicus

    44.     Clark, Kaila, Counsel for Amicus

    45.     Commonwealth of Kentucky, Amicus

    46.     Commonwealth of Massachusetts, Amicus

    47.     Commonwealth of Virginia, Amicus

    48.     Cory, Alyssa L., Counsel for Amicus

    49.     Coursolle, Abigail, Counsel for Plaintiffs

    50.     Dalton, Ann, Witness

    51.     DeBriere, Katherine, Counsel for Plaintiffs

    52.     Dekker, August, Plaintiff



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    53.     Ding, Michael, Counsel for Witness/Third-Party Miriam Grossman

    54.     District of Columbia, Amicus

    55.     Do No Harm, Amicus

    56.     Doe, Jane, Plaintiff

    57.     Doe, John, Plaintiff

    58.     Doe, Susan, Plaintiff

    59.     Donovan, Kevin, Witness

    60.     Dunn, Chelsea, Counsel for Plaintiffs

    61.     Edmiston, E. Kale, Witness

    62.     Endocrine Society, Amicus

    63.     English, Jeffrey, Witness

    64.     Ethics and Public Policy Center, Amicus

    65.     Figlio, Erik, Counsel for Amicus

    66.     Fitch, Lynn, Counsel for Amicus

    67.     Florida Agency for Health Care Administration, Defendant

    68.     Florida Chapter of the American Academy of Pediatrics, Amicus

    69.     Florida Policy Institute, Amicus

    70.     Florida Voices for Health, Amicus

    71.     Gibson, Benjamin J., Counsel for Amicus

    72.     Gonzalez-Pagan, Omar, Counsel for Plaintiffs



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    73.     Griffin, Steven J., Counsel for Amicus

    74.     Griffin, Tim, Counsel for Amicus

    75.     Grossman, Miriam, Witness/Third-Party Discovery Producer

    76.     Halley, Ted, Amicus

    77.     Hartnett, Kathleen, Counsel for Amicus

    78.     Hasson, Mary Rice, Counsel for Amicus

    79.     Helstrom, Zoe, Counsel for Amicus

    80.     Heyer, Walt, Amicus

    81.     Hilgers, Michael T., Counsel for Amicus

    82.     Hinkle, Robert, U.S. District Court Judge

    83.     Hruz, Paul William, Witness

    84.     Hussein, Abdul-Latif, Amicus

    85.     Hutton, Kim, Witness

    86.     Isasi, William, Counsel for Amicus

    87.     Jacobs, Dylan L., Counsel for Amicus

    88.     Janssen, Aron Christopher, Witness

    89.     Jazil, Mohammad, Counsel for Defendants

    90.     K.F., Plaintiff

    91.     Kaliebe, Kristopher Edward, Witness

    92.     Kamody, Rebecca, Amicus



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    93.     Kang, Katelyn, Counsel for Amicus

    94.     Karasic, Dan, Witness

    95.     Kiefel, Camille, Witness

    96.     Kline, Robert, Counsel for Amicus

    97.     Kniffin, Eric Nieuwenhuis, Counsel for Amicus

    98.     Knudsen, Austin, Counsel for Amicus

    99.     Kobach, Kris W., Counsel For Amicus

    100.    Krasovec, Joseph, Counsel for Amicus

    101.    Kuper, Laura, Amicus

    102.    Labrador, Raúl R., Counsel for Amicus

    103.    LaCour, Edmund G. Jr., Counsel for Amicus

    104.    Lannin, Cortlin, Counsel for Amicus

    105.    Laidlaw, Michael, Witness

    106.    Lappert, Patrick, Witness

    107.    Ladue, Jade, Plaintiff

    108.    Levine, Stephen, Witness

    109.    Little, Joseph, Counsel for Plaintiffs

    110.    Loewy, Karen L., Counsel for Plaintiffs

    111.    Marshall, Steve, Counsel for Amicus

    112.    Marstiller, Simone, Former Defendant



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    113.    Mauler, Daniel, Counsel for Amicus

    114.    McCotter, R. Trent, Counsel for Amicus

    115.    McKee, Catherine, Counsel for Plaintiffs

    116.    McNamara, Meredithe, Amicus

    117.    Meszaros, Marie Connelly, Amicus

    118.    Miller, William, Counsel for Plaintiffs

    119.    Miyares, Jason, Counsel for Amicus

    120.    Mondry, Emily, Counsel for Amicus

    121.    Morrisey, Patrick, Counsel for Amicus

    122.    Morrison, Rachel N., Amicus

    123.    Nangia, Geeta, Witness

    124.    National Association of Pediatric Nurse Practitioners, Amicus

    125.    Nordby, Daniel E., Counsel for Witness/Third-Party Miriam
            Grossman and Counsel for Amicus

    126.    Norohna, Maya, Amicus

    127.    North Central Florida Council of Child and Adolescent Psychiatry,
            Amicus

    128.    Olezeski, Christy, Amicus

    129.    Olson-Kennedy, Johanna, Witness

    130.    Paxton, Ken, Counsel for Amicus

    131.    Pediatric Endocrine Society, Amicus



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    132.    Perko, Gary, Counsel for Defendants

    133.    Polston, Ricky L., Counsel for Amicus

    134.    Pratt, Christine, Amicus

    135.    Pratt, Joshua E., Counsel for Defendants

    136.    Ramer, John, Counsel for Amicus

    137.    Reinhardt, Elizabeth, Counsel for Amicus

    138.    Reyes, Sean, Counsel for Amicus

    139.    Richards, Jay W., Amicus

    140.    Rivaux, Shani, Counsel for Plaintiffs

    141.    Rokita, Theodore E., Counsel for Amicus

    142.    Rothstein, Brit, Plaintiff

    143.    Samuels, Valerie, Counsel for Amicus

    144.    Schechter, Loren, Witness

    145.    Scott, Sophie, Witness

    146.    Severino, Roger, Amicus

    147.    Shaw, Gary, Counsel for Plaintiffs

    148.    Sheeran, Andrew, General Counsel for Defendant AHCA

    149.    Shumer, Daniel, Witness

    150.    Skrmetti, Jonathan, Counsel for Amicus

    151.    Societies for Pediatric Urology, Amicus



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    152.     Society for Adolescent Health and Medicine, Amicus

    153.     Society for Pediatric Research, Amicus

    154.     Society of Pediatric Nurses, Amicus

    155.     State of Alabama, Amicus

    156.     State of Arkansas, Amicus

    157.     State of California, Amicus

    158.     State of Delaware, Amicus

    159.     State of Georgia, Amicus

    160.     State of Idaho, Amicus

    161.     State of Illinois, Amicus

    162.     State of Indiana, Amicus

    163.     State of Iowa, Amicus

    164.     State of Kansas, Amicus

    165.     State of Louisiana, Amicus

    166.     State of Maryland, Amicus

    167.     State of Mississippi, Amicus

    168.     State of Missouri, Amicus

    169.     State of Montana, Amicus

    170.     State of Nebraska, Amicus

    171.     State of New York, Amicus



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    172.     State of North Dakota, Amicus

    173.     State of Oregon, Amicus

    174.     State of Rhode Island, Amicus

    175.     State of South Carolina, Amicus

    176.     State of Tennessee, Amicus

    177.     State of Texas, Amicus

    178.     State of Utah, Amicus

    179.     State of West Virginia, Amicus

    180.     Szilagyi, Nathalie, Amicus

    181.     Thompson, David, Counsel for Amicus

    182.     Veroff, Julie, Counsel for Amicus

    183.     Veta, D. Jean, Counsel for Amicus

    184.     Van Meter, Quentin, Witness

    185.     Van Mol, Andre, Witness

    186.     Weida, Jason, Defendant

    187.     Wilson, Alan, Counsel for Amicus

    188.     World Professional Association for Transgender Health, Amicus

    189.     Zanga, Joseph, Witness




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   The amici curiae further state that they are non-profit, non-partisan corporations,

and they have no parent corporation, and no publicly-held corporation has any form

of ownership interest in the amici curiae.

                                                   /s/ Angela Vigil
                                                   Angela Vigil




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                         INTEREST OF AMICI CURIAE
      The amici submitting this brief are a group of five Florida non-profit

organizations that serve the LGBTQ+ community with medical, legal, counselling,

and other necessary services. The five non-profits on whose behalf this brief is being

submitted serve, counsel, and treat transgender youth regularly. All amici share an

interest in protecting the daily needs of their clients as well as their mission statement

and the integrity of the services that they provide to transgender Floridians on a

regular basis. The ruling in this case could have an adverse impact on how they are

able to operate with the transgender community and even the greater LGBTQ+

community in Florida.

      TransSOCIAL is a non-profit organization located in Miami, FL, that

advocates for the transgender community in South Florida while simultaneously

serving the LGBTQ+ community at large. Focused mostly on the “T” in LGBTQ+,

TransSOCIAL is aware of the adversity the transgender community faces in Florida.

To this end TransSOCIAL provides legal resources like legal assistance with

insurance denials and name changes, mental health referrals, estate planning, and

wage theft.

      SPEKTRUM Health is a non-profit organization located in Orlando, FL, that

serves the LGBTQ+ community in the Greater Orlando area and nationwide using

virtual health services. Over fifty percent of SPEKTRUM Health's client base is



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transgender, amount to roughly 2,500 patients. Also, over seventy percent of

SPEKTRUM Health's employee workforce is transgender themselves. SPEKTRUM

Health’s mission is to provide top quality comprehensive primary healthcare options

for LGBTQ+ individuals. SPEKTRUM provides some very necessary medical

services in the LGBTQ+ community including primary care, mental health

counselling, HIV treatment and prevention, gender affirming treatment (GAT),

Med-Psych management, and other STI treatment and prevention.

      SunServe is a non-profit organization located in Wilton Manors, FL,

advocating for the entire LGBTQ+ community in South Florida. SunServe’s mission

is to provide critical life assistance and professional mental health services with an

emphasis on economically disadvantaged, marginalized youth, adults, and seniors in

the greater South Florida metropolitan area. To this end SunServe provides the South

Florida LGBTQ+ community with mental health resources, name and gender marker

change assistance, HIV/AIDs and PrEP Resources, psychotherapy, hormone

replacement therapy, assistance with signing-up for food stamps, employment

resources, and helps establish connections with other resources in the community.

      Transgender Health Education Network ("THEN") is a non-profit

organization that serves the greater North Central Florida region, bringing together

a network of healthcare providers that share the goal of offering informed and

compassionate care to transgender and Gender Diverse individuals. Quality



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affirming healthcare is challenging to access for transgender and Gender Diverse

individuals, especially in rural areas like North Central Florida. THEN seeks to

address inequities in access to care by identifying affirming and informed healthcare

providers and linking those providers to a network of like-minded colleagues. THEN

also aims to provide up-to-date continuing education in transgender healthcare.

      Transinclusive Group is a nonprofit organization located in Wilton Manors,

FL, serving the tri-county area of Broward, Miami-Dade, and Palm Beach.

Transinclusive Group pursues a mission of advocacy to protect and defend equality

for all Transgender and LGBTQ+ individuals. Transinclusive Group builds

relationships with community providers to end discrimination, stigma, and racial

disparities to address social determinants of health, with a concentrated focus on

serving people of color. Transinclusive Group provides necessary services to the

South Florida community including mutual aid assistance for transgender and gender

diverse individuals; rideshare vouchers to help community members safely reach

essential destinations; educational workshops and health outreach, referrals to

affirming community providers and resources; ongoing advocacy efforts around

gender-affirming healthcare, education, reproductive rights, and other critical issues;

wide-reaching anti-stigma and awareness campaigns.




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                                SUMMARY OF ARGUMENT
        Since 2021, Florida’s governor has proposed and the legislature has enacted a

series of laws that restrict the rights of LGBTQ+ individuals and specifically seek to

dehumanize the transgender community. Florida administrative agencies and boards

have simultaneously enacted regulations with the same intent. These rules and laws

(referred to herein collectively as “laws”) are part of an organized campaign against

Florida’s LGBTQ+ community. One of the stated goals of this campaign is to

“eradicate transgenderism” by which the proponents of these rules and laws mean

the ability of transgender people to live openly and safely as transgender.1

        By enacting sweeping legislation and regulatory changes that affects all

members of the LGBTQ+ community, but specifically targeting some of the most

vulnerable and misunderstood members of that community—transgender, non-

binary, and gender nonconforming individuals—the State of Florida has sought to

deprive these individuals of longstanding rights. Hidden behind misleading

catchphrases such as “Let Kids Be Kids” and “Parental Rights,” the laws are

anything but that. Instead, these laws reflect the State of Florida’s hostility toward




1
 Peter Wade, “ CPAC Speaker Calls for Eradication of ‘Transgenderism’ — and Somehow Claims He’s
Not Calling for Elimination of Transgender People”, ROLLING STONE, March 6, 2023,
https://www.rollingstone.com/politics/politics-news/cpac-speaker-transgender-people-eradicated-
1234690924/. (“For the good of society ... transgenderism must be eradicated from public life entirely - the
whole preposterous ideology, at every level.”).


                                                     4
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the broader LGBTQ+ community, with particular animus being directed against

transgender people.

      Because Rule 59G-1.050(7) of the Florida Administrative Code (the

“Challenged Exclusion”) and SB 254 are but two of many laws and regulations

passed in a years-long push by Florida to discriminate against transgender and other

LGBTQ+ individuals, their constitutionality should be viewed not in isolation, but

rather in the overall context of the pattern of legislation and executive policies

written, advocated for, and enacted by groups and politicians who have expressly

stated their animus towards transgender people and other members of the LGBTQ+

community. Amici urge this Court to recognize the evidence set forth below, which

supports a finding, under the Arlington Heights framework, that the laws and

regulations at issue in this matter intentionally discriminate against transgender

individuals. That is their purpose and that is their effect.

                                    ARGUMENT

      A.     The History of Florida's Campaign Against the LGBTQ+
             Community Demonstrates that the State and Florida Legislators
             Acted Because of Their Animus Toward the Transgender
             Community When They Passed SB 254 and Enacted the
             Challenged Exclusion.
      Since taking office in 2019, Governor DeSantis and the Florida legislature

have enacted a series of laws aimed at restricting the rights of the LGBTQ+




                                            5
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community, with a particular focus on eviscerating the rights of transgender

individuals.

        In 2020, former Florida House Representative Anthony Sabatini introduced

HB 1365, entitled the “Vulnerable Child Protection Act.” 2 HB 1365 sought to

criminalize gender-affirming care for transgender individuals. Representative

Sabatini’s bill was a copycat of a 2019 South Dakota bill crafted, and lobbied for by

an organized network of anti-transgender activists and groups. Although HB 1365

died in committee, it was the harbinger of future anti-LGBTQ+ legislation.

        The first successful attack on transgender people by the Florida legislature

came in 2021 when Governor DeSantis signed the “Fairness in Women’s Sports Act”

into law. This law bans transgender women and girls from participating in school

sports.3 When asked during a hearing if she could point to a single example of a

Floridian being harmed by the participation of a transgender female athlete, the bill’s

sponsor, Florida House Representative Kaylee Tuck, admitted that she was “not

aware of any Florida specific cases.” 4 Later commenting on the law, Governor




2
  @AnthonySabatini, TWITTER (Jan 13, 2022, 11:07 AM) (emphasis added),
https://twitter.com/GovRonDeSantis/status/1506315576674865153. Amici and Counsel fully disavow
this and other disrespectful statements made about Floridians quoted throughout this brief and apologize
for the any harmful affect they may have on readers. These factual quotations are included here not to
amplify or support them, but rather to demonstrate the factual argument in this brief that the state and
legislature's campaign against the LGBTQ+ and especially transgender community in Florida is extensive
and evidenced by many different statements of concern.
3
  Fla. Stat. § 1006.205.
4
  SB 1028, Education Sub-Committee, House of Representatives Hr’g Tr. 5:15-6:2 (March 17, 2021).


                                                   6
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DeSantis denied the existence of transgender women, tweeting that “allowing men

to compete in women’s sports” is a “mockery” and “perpetuat[es] a fraud.”5

        In February 2022, Governor DeSantis signed HB 1557, the “Parental Rights

in Education Act” (commonly known as the “Don’t Say Gay” law). The statute bans

classroom instruction on or discussion of sexual orientation or gender identity

through the third grade.6 This law chills the speech of the LGBTQ+ community; it

rewards parents who seek to enforce violations of the law; and it punishes school

districts and teachers who fail to apply the law to avoid harming LGBTQ+ students.

        Florida legislators enunciated their clear intent in HB 1557: to harm the

LGBTQ+ community. Governor DeSantis’s then-press secretary referred to the law

as the “Anti-Grooming Bill” and characterized anyone who opposed the law as

“probably a groomer or at least you don’t denounce the grooming of four to eight

year old children.”7 These statements perpetuate the false and offensive belief that

the LGBTQ+ community and their allies are “groomers” who want to “sexualize

children.” 8




5
  @GovRonDeSantis, TWITTER (March 22, 2022, 1:03 PM) (emphasis added),
https://twitter.com/GovRonDeSantis/status/1506315576674865153.
6
  Fla. Stat. § 1001.42(8)(3).
7
  @ChristinaPushaw, TWITTER (Mar. 4, 2022, 6:33 PM),
https://twitter.com/christinapushaw/status/1499890719691051008?lang=en.
8
  Governor Ron DeSantis Signs Historic Bill to Protect Parental Rights in Education, FLGOV.COM (Mar.
28, 2022), https://flgov.com/2022/03/28/governor-ron-desantis-signs-historic-bill-to-protect-parental-
rights-in-education (emphasis added).


                                                  7
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        Confirming the beginning of a larger campaign, Representative Randy Fine,

then chair of the Florida House’s Health & Human Services Committee, tweeted,

“#WeAreJustGettingStarted.”9 On April 4, 2022, Representative Fine tweeted, “I’ve

had enough. Next session I will shepherd legislation to make it illegal to provide

drugs or surgery to a minor for ‘gender reassignment.’”10 Representative Fine kept

his promise.

        The effort to target the transgender community took multiple forms. In April

2022, Florida’s Agency for Health Care Administration (“AHCA”) announced it

would “review” its coverage of treatment of gender dysphoria and then took only

two months to release new standards, including the Challenged Exclusion.11 AHCA

fast-tracked its review by handpicking its “experts” to include anti-trans activists

Quentin van Meter 12 and Patrick Lappert, 13 both of whom the district court

determined were not qualified to testify as experts. The “research” in the report

9
  @VoteRandyFine, TWITTER, (Mar. 31, 2022, 9:17 AM),
https://twitter.com/VoteRandyFine/status/1509520362127691779.
10
   @VoteRandyFine, TWITTER (Apr. 4, 2022, 11:40 AM),
https://twitter.com/VoteRandyFine/status/1511005843516448773.
11
   Press Release, Agency For Health Care Administration, Agency for Health Care Administration
Releases Generally Accepted Professional Medical Standards Determination on the Treatment of Gender
Dysphoria, Jun. 2, 2023, https://ahca.myflorida.com/content/download/7115/file/6-2-
22_AHCA_GAPMS_Press_Release_FINAL.pdf.
12
   Evan Meter was disqualified from testifying as a medical expert on gender dysphoria by a Texas court.
See Stephen Caruso, A Texas Judge Ruled That This Doctor Was Not an Expert, Pennsylvania Capital-Star,
Sept. 15, 2020, https://www.penncapital-star.com/government-politics/a-texas-judge-ruled-this-doctor-
was-not-an-expert-a-pennsylvania-republican-invited-him-to-testify-on-trans-health-care/ (reporting that
van Meter was disqualified as an expert in a Texas divorce case, now sealed).
13
   Lappert was disqualified as an expert by a North Carolina federal court. See Meredithe McNamara, et al.,
Ensuring Comprehensive Care and Support for Transgender and Gender-Diverse Children and
Adolescents, Page 9, July 8, 2022, https://medicine.yale.edu/lgbtqi/research/gender-affirming-
care/florida%20report%20final%20july%208%202022%20accessible_443048_284_55174_v3.pdf.


                                                    8
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consisted of unpublished, unscientific, non-peer-reviewed reports, 14 which Judge

Hinkle found to be "a predetermined outcome, not a fair analysis of the evidence."15

After an administrative hearing process that Judge Hinkle described as “well-

choreographed,”16 the AHCA banned Medicaid coverage for gender-affirming care

for all transgender Floridians—not just minors, revealing this was the original

pretext for such drastic action.

       In August 2022, Governor DeSantis actively vocalized his animus against his

transgender constituents, publicly tweeting multiple times that “gender-affirming

care is a euphemism for disfiguring kids.” 17 Governor DeSantis’s press secretary

continued the attack, falsely stating that gender-affirming care is “not counselling,”

but only “puberty blockers… and surgeries chopping off private parts.”18 Expanding

the strategy beyond just messaging, Governor DeSantis fired any state attorneys who

refused to enforce laws criminalizing gender-affirming care.19




14
   Id.
15
   See Dekker v. Weida, No. 4:22cv325-RH-MAF, 2023 U.S. Dist. LEXIS 107421, at *50 (N.D. Fla. June
21, 2023).
16
   Id. at *10.
17
   @GovRonDeSantis, TWITTER (Aug. 16, 2022, 5:00 PM),
https://twitter.com/GovRonDeSantis/status/1559646179595407362?s=20&t=55DYjYGjIIotEUZx-
AY7Og; @ChristinaPushaw, TWITTER (Aug. 16, 2022, 6:06 PM),
https://twitter.com/ChristinaPushaw/status/1560750173814689794?s=20&t=ReChkHaAQNRRoiwNfPSC
kw.
18
   @ChristinaPushaw, TWITTER (Aug. 19, 2022, 6:06 PM),
https://twitter.com/ChristinaPushaw/status/1560750173814689794?s=20&t=ReChkHaAQNRRoiwNfPSC
kw).
19
   Fla. Exec. Order No. 22-176 (Aug. 4, 2022); Fla. Exec. Order No. 23-160 (Aug. 9, 2022).


                                                9
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        The Florida legislature was not done. On February 21, 2023, the Florida

House of Representatives Health & Human Services Committee held a hearing on

gender affirming care. Although Representative Fine opened the hearing promising

a “panel of experts,” the legislators heard only from opponents of gender-affirming

care. For example, David Leatherwood of the anti-LGBTQ+ extremist group Gays

Against Groomers20 told the panel he believed that the LGBTQ+ community “has

been hijacked by trans terrorists . . like a trojan horse by extremists in a death cult.”21

        In the wake of the hearing, on March 3, 2023, Representative Fine filed HB

1421 proposing to ban private insurance companies from covering gender-affirming

care for Floridians of any age and to make it a felony for doctors to provide such

care to minors. 22 Representative Fine announced HB 1421 by tweeting, “The

butchering of children will be illegal in Florida, Florida citizens will not be obligated

to pay for the sexual mutilation of adults, and those tricked into this evil will have

30 years to sue . . . That’s HB 1421 and I am proud to file it.”23 While speaking on

these proposed bills, Florida house legislators openly displayed their animus against

the transgender community. Representative Webster Barnaby called transgender



20
   Although identifying as “gays,” the group pushes false claims and conspiracy theories about parts of the
LGBTQ+ community.
21
   Our Community Has Been HIJACKED By Trans Terrorists!, TheDC Shorts, April 3, 2023.
22
   Gender Clinical Interventions, HB 1421 (Mar. 22, 2023).
23
   @VoteRandyFine, TWITTER (Mar. 3, 2023),
https://twitter.com/VoteRandyFine/status/1631676140304646144; State Representative Randy Fine,
FACEBOOK, Mar. 3, 2023,
https://www.facebook.com/voterandyfine/posts/761831661970637?ref=embed_post.


                                                   10
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Floridians testifying before the Florida House “mutants living among us on Planet

Earth,” “demons,” “imps,” and even “Satan.”24 Representative Sabatini, whose 2020

efforts to pass such legislation failed, expressed his animus towards transgender

individuals, including by tweeting, “It’s time to stop the transgender mutants and

demons without apology” 25 and re-tweeting a call to ban “transgenderism” and

“crush Pride Month and the businesses that promote that toxic anti-American

garbage.” 26 SB 254, HB 1421’s senate companion, was eventually passed and

enacted with the same content.

        After introducing SB 254, Representative Fine promoted a series of other laws

that he described as reflection of his intention to “eras[e]a community.”27

        SB 1438, the so-called “Protection of Children” Act, criminalizes drag

performances.28 Representative Fine, sponsor of the parallel HB 1423 bill, clarified



24
   Jim Saunders, Florida legislator compares transgender people to ‘demons and imps’ as bathroom bill
passes, TALLAHASSEE DEMOCRAT., April 10, 2023,
https://www.tallahassee.com/story/news/politics/2023/04/10/florida-republican-webster-barnaby-calls-
trans-people-demons-mutants/70101438007/; @Esqueer_, TWITTER (Apr. 10, 2023, 5:11 PM)
https://twitter.com/Esqueer_/status/1645534892409884681?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweet
embed%7Ctwterm%5E1645534892409884681%7Ctwgr%5Ed5808d63f6349f5d3bb33f7d9551ec94d0c1c
421%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fwww.tallahassee.com%2Fstory%2Fnews%2Fpolitics
%2F2023%2F04%2F10%2Fflorida-republican-webster-barnaby-calls-trans-people-demons-
mutants%2F70101438007%2F.
25
   @AnthonySabatini, TWITTER (Apr. 11, 2023, 4:36 PM),
https://twitter.com/VoteRandyFine/status/1511005843516448773.
26
   Tori Otten, Florida Republican Calls to “Crush” Pride Month for Being “Anti-Christian” (July 14,
2023, 1:52 PM), https://newrepublic.com/post/171836/florida-republican-defends-anti-drag-bill-even-
means-erasing-community.
27
   Prem Thakker, Florida Republican Defends Anti-Drag Bill Even If It Means “Erasing a Community”
(April 12, 2023, 2:57 PM), https://newrepublic.com/post/171836/florida-republican-defends-anti-drag-bill-
even-means-erasing-community.
28
   2023 Fla. Laws ch. 2023-94, § 5.


                                                  11
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the law was a continuation of the SB 254 campaign intended to “protect our children

by ending the gateway propaganda” to transgenderism, “Drag Queen Story Time.” 29

Doubling-down, Representative Fine clarified his goal is to “erase” the transgender

and larger LGBTQ+ community.30 On April 19, 2023, the Florida legislature passed

SB 1438.

       On May 2, 2023, the legislature passed SB 1580, entitled “Protections of

Medical Conscience,” which permits a wide range of healthcare providers and

insurance companies to refuse to provide or pay for “any health care service on the

basis of a conscience-based objection,” which could be any religious, moral, or

ethical belief.31 This bill endangers all Floridians, but is particularly dangerous for

transgender individuals and creates further barriers for Floridians seeking gender-

affirming care. Governor DeSantis signed SB 1580 on May 11, 2023.

       On May 3, 2023, the Florida legislature passed two more anti-LGBTQ+ bills:

HB 1069 and HB 1521. HB 1069 make it the “policy” of every Florida public school

that a person’s sex is “an immutable biological trait” and that it is “false” to use


29
   State Representative Randy Fine, FACEBOOK (March 3, 2023),
https://www.facebook.com/voterandyfine/posts/761831661970637?ref=embed_post.
30
   Christie Zizo, ‘Damn right:’ Florida lawmaker’s controversial comments amid drag show drama
(April 12, 2023, 6:4 PM), https://www.clickorlando.com/news/local/2023/04/12/florida-lawmaker-on-
concept-of-erasing-lgbtq-community-over-drag-show-drama-damn-right/; @Esqueer_, TWITTER (Apr.
12, 2023, 10:57 AM);
https://twitter.com/Esqueer_/status/1646165583170289664?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweet
embed%7Ctwterm%5E1646165583170289664%7Ctwgr%5E05e5d39fcf5a21c6c12b14e1006cd4947ba3a
64b%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fwww.advocate.com%2Flaw%2Fflorida-drag-
lawmaker-erase-lgbtq.
31
   See generally 2023 Fla. Laws ch. 2023-57.


                                               12
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pronouns that deviate from that definition.32 It goes on to ban school employees from

using pronouns that match their gender identity, permits anyone to disrespect

transgender students’ pronouns, and prohibits any discussion of sexual orientation

or gender identity up to eighth grade.

       HB 1521 bans all transgender people from using facilities that correspond to

their gender identity in schools, prisons, or any “public buildings.”33 It allows state-

sanctioned discrimination against anyone whose appearance does not meet a

stranger’s expectations, allowing a person to be critically questioned about their

gender. Referring to transgender women, Co-bill-sponsor, Florida House

Representative Dean Black, tweeted: “Men do NOT belong in women’s restrooms,”

and HB 1521 “prohibits biological males from using women’s restrooms in public

facilities.”34

       The campaign launched by Florida’s leaders has been tragically effective. On

May 4, 2023, the Florida legislature passed SB 254. On May 17, 2023, Governor

DeSantis signed twenty-one bills into law.35 Five of those laws (SB 254, HB 1069,




32
   H.R. Res. 1069 (2023).
33
   H.R. Res. 1521, Reg. Sess. (2023).
34
   @DeanBlackFL, TWITTER (Apr. 19, 2023, 10:52 PM),
https://twitter.com/DeanBlackFL/status/1648882371716841475.
35
   Press Release, Executive Office of Governor Ron DeSantis, Governor DeSantis Signs 21 Bills, May 17,
2023, https://www.flgov.com/2023/05/17/governor-desantis-signs-21-bills/.


                                                 13
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HB 1438, HB 1521, and HB 225) were targeted against Florida’s transgender

youth.36

        Not even federal judges are immune from the anti-transgender animus of

Florida’s legislators. When District Judge Robert Hinkle ruled against the State in

the parallel lawsuit Doe v. Ladapo on June 6, 2023, Representative Fine tweeted,

“It’s clear that Democrat Judge Hinkle is a science-denying wokeist whose radical

order will soon be overturned by jurists who actually believe in science. We will not

stop fighting to defend children from those like Hinkle who support child castration

and mutilation.”37

        Similarly, the State’s anti-transgender animus has driven it to openly defy

Judge Hinkle’s injunction declaring SB 254 and the Challenged Exclusion

unconstitutional by continuing to categorically ban Medicaid coverage of puberty-

delaying medications and gender-affirming for the treatment of gender dysphoria.

Plaintiffs-Appellees have been forced to file a Motion to Enforce the Court’s




36
   Press Release, Executive Office of Governor Ron DeSantis, Governor Ron DeSantis Signs Sweeping
Legislation      to  Protect      the  Innocence       of   Florida’s      Children, May    17,     2023,
https://www.flgov.com/2023/05/17/governor-ron-desantis-signs-sweeping-legislation-to-protect-the-
innocence-of-floridas-children/.
37
   @VoteRandyFine, TWITTER (Jun 6, 2023, 12:54 PM),
https://twitter.com/VoteRandyFine/status/1666126325269114887. With apologies to this Court, please
note that Amici and their Counsel apologize for the disrespectful comments made about any member of
the bench and do not in any way endorse this behavior. They are included here only as supportive of the
arguments of this brief that the campaign of the state and legislature is extensive.


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Judgment to correct the State’s brazen refusal to abide by the orders of a federal

district judge.38

                                           CONCLUSION
        Unfortunately, the legislators vested with the responsibility of enacting laws

that protect Floridians have waged a campaign against a subset of their constituents

by enacting laws that target the LGBTQ+ community in general and transgender

people specifically. Consideration of these laws, as well as the views openly

expressed by the legislators proposing them, strips away the pretext of SB 254 and

the Challenged Exclusion, and lays bare the true animus behind passage of these

laws and regulations. Amici urge this Court to consider the pending appeal in the

context of this campaign of animus launched and perpetuated by the State and

legislative members of Florida.

                                          Respectfully submitted,

                                          TransSOCIAL, SPEKTRUM Health, Inc.,
                                          Transgender Health Education Network,
                                          SunServe, and Transinclusive Group

                                          /s/ Angela Vigil
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                                          1111 Brickell Avenue, Unit 1700
                                          Miami, FL 33131
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                                          Debra.Dandeneau@bakermckenzie.com

38
  See generally Plaintiffs’ Motion to Enforce the Court’s Judgment or, Alternatively, to Clarify the Court’s
Judgment [Dkt. 258], Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla. Oct. 4, 2023).


                                                    15
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                             CERTIFICATE OF SERVICE

      I electronically filed the foregoing with the Clerk of Court for the United States

Court of Appeals for the Eleventh Circuit on December 4, 2023, by using the appellate

CM/ECF system, and service was accomplished on all counsel of record by the appellate

CM/ECF system.

                                                   /s/ Angela Vigil
                                                   Angela Vigil



      CERTIFICATE OF SATISFACTION OF ATTORNEY-CONFERENCE
                          REQUIREMENT

      Pursuant to Fed. R. App. P. 29(a)(2), counsel for amici contacted counsel for the

parties on November 13, 2023, and asked whether they consent to the filing of amici's brief.

Counsel of both Plaintiff-Appellees (on November 28, 2023) and Defendant-Appellants

(on November 13, 2023, and November 21, 2023 respectively) indicated that they did not

object to the filing.

                                                   /s/ Angela Vigil
                                                   Angela Vigil




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                         CERTIFICATE OF COMPLIANCE

      This brief complies with: (1) the page limitation of Federal Rule of Appellate

Procedure 29(a)(5) because it contains 4,678 words, excluding the parts of the brief

exempted by Rule 32(f); and (2) the typeface requirements of Federal Rule of Appellate

Procedure 32(a)(5) and the type style requirements of Federal Rule of Appellate Procedure

32(a)(6) because it has been prepared in a proportionally spaced typeface (14-point Times

New Roman) using Microsoft Word (the same program used to calculate the word count).


                                                  /s/ Angela Vigil
                                                  Angela Vigil




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